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 1                         TRANSCRIBED FROM DIGITAL RECORDING
 2                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
 3                              EASTERN DIVISION
           ELOISE LOCKHART,                 )
 4                      Plaintiff,          )
                   vs.                      )
 5         HSBC FINANCE CORPORATION, HSBC ) Case No. 13 CV 9323
           MORTGAGE CORP., HOUSEHOLD        )
 6         FINANCE CORP. III, MERSCORP,     ) Chicago, Illinois
           INC., MERS, FREEDMAN ANSELMO     ) May 26, 2015
 7         LINDBERG, LLC, STEVEN C.         ) 10:12 AM
           LINDBERG, JANE & JOHN DOES       )
 8         1-10 AS AGENTS AND/OR            )
           EMPLOYEES RELATED TO HSBC,       )
 9         FREEDMAN ANSELMO LINDBERG, AND )
           MERSCORP, INC., BRADY PILGRIM    )
10         CHRISTAKIS BELL, LLP, JEFFREY    )
           PILGRIM, JANE AND JOHN DOES      )
11         1-10 AS AGENTS AND/OR            )
           EMPLOYEES RELATED TO             )
12         DEFENDANTS BRADY PILGRIM         )
           CHRISTAKIS BELL, AND ARNOLD G. )
13         KAPLAN,                          )
                                            )
14                      Defendants.         )
15
16                              TRANSCRIPT OF PROCEEDINGS
17         BEFORE THE HONORABLE MAGISTRATE JUDGE JEFFREY T. GILBERT
18      APPEARANCES:
19      Plaintiff Pro se:               MS. ELOISE LOCKHART
                                        1721 Hillcrest Drive
20                                      Irving, Texas
21
        Transcriber:
22                       SANDRA M. TENNIS, CSR, RMR, FCRR
                               Official Court Reporter
23                          United States District Court
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24                            Chicago, Illinois 60604
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 1      APPEARANCES: (Continued.)
 2      For the Defendants              PILGRIM CHRISTAKIS LLP
        HSBC, MERS and                  BY: MR. JASON A. JULIEN
 3      Pilgrim Christakis              321 North Clark Street
                                        26th Floor
 4                                      Chicago, IL 60654
 5
 6            **PLEASE NOTIFY OF INCORRECT SPEAKER IDENTIFICATION**
                   NOTE: FAILURE TO STAND NEAR THE MICROPHONE MAKES
 7                      PORTIONS UNINTELLIGIBLE AND INAUDIBLE.
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 1                   THE CLERK: 13 CV 9323, Lockhart vs. HSBC Finance
 2      Corporation, et al., for status.
 3                   THE COURT: Is everybody also here now on Garcia?
 4                   UNIDENTIFIED VOICE: No.
 5                   THE COURT: You're the only one? Okay. You're
 6      next.
 7                   UNIDENTIFIED VOICE: Thank you.
 8                   MR. JULIEN: Good morning, Judge. Jason Julien for
 9      the HSBC defendants, the MERS defendants, and the Pilgrim
10      Christakis defendants.
11                   THE COURT: Good morning.
12                   MS. LOCKHART: Good morning, your Honor. Eloise
13      Lockhart, plaintiff, pro se.
14                   THE COURT: Good morning. Okay. So I set this to
15      see whether -- what happened with your client, your
16      discussions with your client, in terms of settlement
17      progress. And I know you also had a status in front of Judge
18      Durkin this morning. And I did talk to Judge Durkin between
19      this time and last.
20                   So, first, what happened? What's your client's
21      perspective and what happened this morning?
22                   MR. JULIEN: My client's perspective is that they
23      don't want to make another settlement offer. That if
24      Ms. Lockhart wants to make a counter to our previous
25      counterproposal, that we might entertain it if it's
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 1      significantly lower than her opening offer. But, otherwise,
 2      we just want to go forward. And we intend to take some
 3      action either this week or next week in the state court case.
 4                   THE COURT: My guess is you're not prepared to
 5      significantly walk back your number?
 6                   MS. LOCKHART: No, your Honor.
 7                   THE COURT: Well, I shouldn't say that.
 8      Ms. Lockhart, what do you want to do?
 9                   MS. LOCKHART: That's correct, your Honor. I'm not
10      prepared to -- I don't know what they mean by significant.
11                   THE COURT: Lots of zeros going away.
12                   MS. LOCKHART: I'm sorry?
13                   THE COURT: I think they mean, and Mr. Julien can
14      correct me if I'm wrong, lots of zeros have to disappear;
15      right?
16                   MR. JULIEN: Correct.
17                   MS. LOCKHART: Okay. No, your Honor.
18                   THE COURT: Okay. And so what you're -- this is
19      what you talked about with Judge Durkin this morning, that
20      you're going to move forward -- the stay is going to continue
21      here, but you're going to move forward in the state court
22      litigation?
23                   MR. JULIEN: That's correct.
24                   THE COURT: Okay. So for my own docket control
25      purposes, what I'm going to do, given this discussion, I'm
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 1      going to terminate the settlement referral. All right? If
 2      at some point in the future both of you want to engage at the
 3      same plane in terms of your settlement discussions, I'd be
 4      happy to, you know, regenerate that. But, right now, I think
 5      you ought to focus on the state court case and anything
 6      you're going to do on the merits here. And if that changes,
 7      I'm your guy. But until that changes, I think you don't need
 8      to come back to me.
 9                   MS. LOCKHART: Thank you, your Honor.
10                   MR. JULIEN: Okay.
11                   THE COURT: Okay. Have a good trip back,
12      Ms. Lockhart.
13                   MS. LOCKHART: Thank you.
14            (Which were all the proceedings heard.)
15                                      CERTIFICATE
16            I certify that the foregoing is a correct transcript
17      from the digital recording of proceedings in the
18      above-entitled matter to the best of my ability, given the
19      limitations of using a digital-recording system.
20
21      /s/Sandra M. Tennis                          August 6, 2015
22
        Sandra M. Tennis                             Date
23      Official Court Reporter
24
25
